AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
         V.                                                           (For Offenses Committed On or After November 1, 1987)


MARVIN DOUGLAS THOMAS                                                 Case Num ber: 5:98CR282-9-V

                                                                      USM Num ber: 13933-058

                                                                      Noell Tinn
                                                                      Defendant’s Attorney


THE DEFENDANT:

         Adm itted guilt to violation of condition(s)     Of the term of supervision.
         W as found in violation of condition(s) count(s)       After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                             Date Violation
 Violation Num ber               Nature of Violation                                         Concluded




       The Defendant is sentenced as provided in pages 1 through 1 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        Supervised release is terminated.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                      Date of Im position of Sentence: August 14, 2006




                                                                         Signed: August 23, 2006




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